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   7
                            UNITED STATES DISTRICT COURT
   8
                          CENTRAL DISTRICT OF CALIFORNIA
   9

  10    BRIAN HENDRICKS and ANDREW
                                                    Case No. 2:19-cv-6840-CJC-MRW
  11    SAGALONGOS, on behalf of
        themselves and all others similarly
  12    situated,                                   STIPULATED PROTECTIVE
                                                    ORDER
  13                Plaintiffs,
                                                    (MRW VERSION 4/19)
  14           v.
                                                    ‫ ܈‬Check if submitted without
  15    AETNA LIFE INSURANCE                        material modifications to MRW form
  16    COMPANY,
                    Defendant.
  17

  18

  19   1.    INTRODUCTION
  20         1.1    PURPOSES AND LIMITATIONS
  21         Discovery in this action is likely to involve production of confidential,
  22   proprietary, or private information for which special protection from public
  23   disclosure and from use for any purpose other than prosecuting this litigation may
  24   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  25   enter the following Stipulated Protective Order. The parties acknowledge that this
  26   Order does not confer blanket protections on all disclosures or responses to
  27   discovery and that the protection it affords from public disclosure and use extends
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  1    only to the limited information or items that are entitled to confidential treatment
  2    under the applicable legal principles. The parties further acknowledge, as set forth
  3    in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  4    file confidential information under seal; Civil Local Rule 79-5 sets forth the
  5    procedures that must be followed and the standards that will be applied when a party
  6    seeks permission from the court to file material under seal.
  7

  8          1.2    GOOD CAUSE STATEMENT
  9          This Protective Order is a qualified protective order pursuant to Title 45 Code
 10    of Federal Regulations § 164.512(e)(1)(v). The parties acknowledge that
 11    information produced in discovery, regardless of its designation under this Order,
 12    may contain personal and health information subject to the protections of, inter alia,
 13    the Health Insurance Portability and Accountability Act of 1996, the applicable
 14    requirements of the Standards for Privacy of Individually Identifiable Health
 15    Information and its implementing regulations issued by the U.S. Department of
 16    Health and Human Services (45 C.F.R. Parts 160-64; HIPAA Privacy Regulations),
 17    and California Civil Code §§ 56 et seq., and 1798.82 et seq., which protect the
 18    confidentiality of individually-identifiable personal and health information.
 19          Discovery may also involve trade secrets, customer and pricing lists and other
 20    valuable research, development, commercial, financial, technical and/or proprietary
 21    information for which special protection from public disclosure and from use for
 22    any purpose other than prosecution of this action is warranted.
 23          Accordingly, to expedite the flow of information, to facilitate the prompt
 24    resolution of disputes over confidentiality of discovery materials, to adequately
 25    protect information the parties are entitled or required to keep confidential, to ensure
 26    that the parties are permitted reasonable necessary uses of such material in
 27    preparation for and in the conduct of trial, to address their handling at the end of the
 28    litigation, and to serve the ends of justice, a protective order for such information is
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  1    justified in this matter. It is the intent of the parties that information will not be
  2    designated as confidential for tactical reasons and that nothing be so designated
  3    without a good faith belief that it has been maintained in a confidential, non-public
  4    manner, and there is good cause why it should not be part of the public record of this
  5    case.
  6    2.      DEFINITIONS
  7            2.1   Action: this pending federal law suit, Hendricks, et al. v. Aetna Life
  8    Insurance Company, U.S. District Court Case No. 2:19-cv-6840-CJC-MRW.
  9            2.2   Challenging Party: a Party or Non-Party that challenges the
 10    designation of information or items under this Order.
 11            2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 12    how it is generated, stored or maintained) or tangible things that qualify for
 13    protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 14    the Good Cause Statement.
 15            2.4   Counsel: Outside Counsel of Record and House Counsel (as well as
 16    their support staff).
 17            2.5   Designating Party: a Party or Non-Party that designates information or
 18    items that it produces in disclosures or in responses to discovery as
 19    “CONFIDENTIAL.”
 20            2.6   Disclosure or Discovery Material: all items or information, regardless
 21    of the medium or manner in which it is generated, stored, or maintained (including,
 22    among other things, testimony, transcripts, and tangible things), that are produced or
 23    generated in disclosures or responses to discovery in this matter.
 24            2.7   Expert: a person with specialized knowledge or experience in a matter
 25    pertinent to the litigation who has been retained by a Party or its counsel to serve as
 26    an expert witness or as a consultant in this Action.
 27            2.8   House Counsel: attorneys who are employees of a party to this Action.
 28    House Counsel does not include Outside Counsel of Record or any other outside
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  1    counsel.
  2          2.9    Non-Party: any natural person, partnership, corporation, association, or
  3    other legal entity not named as a Party to this action.
  4          2.10 Outside Counsel of Record: attorneys who are not employees of a
  5    party to this Action but are retained to represent or advise a party to this Action and
  6    have appeared in this Action on behalf of that party or are affiliated with a law firm
  7    which has appeared on behalf of that party, and includes support staff.
  8          2.11 Party: any party to this Action, including all of its officers, directors,
  9    employees, consultants, retained experts, and Outside Counsel of Record (and their
 10    support staffs).
 11          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 12    Discovery Material in this Action.
 13          2.13 Professional Vendors: persons or entities that provide litigation
 14    support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 15    demonstrations, and organizing, storing, or retrieving data in any form or medium)
 16    and their employees and subcontractors.
 17          2.14 Protected Material: any Disclosure or Discovery Material that is
 18    designated as “CONFIDENTIAL.”
 19          2.15 Receiving Party: a Party that receives Disclosure or Discovery
 20    Material from a Producing Party.
 21

 22    3.    SCOPE
 23          The protections conferred by this Stipulation and Order cover not only
 24    Protected Material (as defined above), but also (1) any information copied or
 25    extracted from Protected Material; (2) all copies, excerpts, summaries, or
 26    compilations of Protected Material; and (3) any testimony, conversations, or
 27    presentations by Parties or their Counsel that might reveal Protected Material.
 28          Any use of Protected Material at trial will be governed by the orders of the
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  1    trial judge. This Order does not govern the use of Protected Material at trial.
  2

  3    4.    DURATION
  4          Even after final disposition of this litigation, the confidentiality obligations
  5    imposed by this Order will remain in effect until a Designating Party agrees
  6    otherwise in writing or a court order otherwise directs. Final disposition will be
  7    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  8    or without prejudice; and (2) final judgment herein after the completion and
  9    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 10    including the time limits for filing any motions or applications for extension of time
 11    pursuant to applicable law.
 12

 13    5.    DESIGNATING PROTECTED MATERIAL
 14          5.1    Exercise of Restraint and Care in Designating Material for Protection.
 15    Each Party or Non-Party that designates information or items for protection under
 16    this Order must take care to limit any such designation to specific material that
 17    qualifies under the appropriate standards. The Designating Party must designate for
 18    protection only those parts of material, documents, items, or oral or written
 19    communications that qualify so that other portions of the material, documents,
 20    items, or communications for which protection is not warranted are not swept
 21    unjustifiably within the ambit of this Order.
 22          Mass, indiscriminate, or routinized designations are prohibited. Designations
 23    that are shown to be clearly unjustified or that have been made for an improper
 24    purpose (e.g., to unnecessarily encumber the case development process or to impose
 25    unnecessary expenses and burdens on other parties) may expose the Designating
 26    Party to sanctions.
 27          If it comes to a Designating Party’s attention that information or items that it
 28    designated for protection do not qualify for protection, that Designating Party must
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  1    promptly notify all other Parties that it is withdrawing the inapplicable designation.
  2          5.2    Manner and Timing of Designations. Except as otherwise provided in
  3    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  4    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  5    under this Order must be clearly so designated before the material is disclosed or
  6    produced.
  7          Designation in conformity with this Order requires:
  8          (a) for information in documentary form (e.g., paper or electronic documents,
  9    but excluding transcripts of depositions or other pretrial or trial proceedings), that
 10    the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
 11    “CONFIDENTIAL legend”), to each page that contains protected material. If only a
 12    portion or portions of the material on a page qualifies for protection, the Producing
 13    Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 14    markings in the margins).
 15          A Party or Non-Party that makes original documents available for inspection
 16    need not designate them for protection until after the inspecting Party has indicated
 17    which documents it would like copied and produced. During the inspection and
 18    before the designation, all of the material made available for inspection will be
 19    deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 20    documents it wants copied and produced, the Producing Party must determine which
 21    documents, or portions thereof, qualify for protection under this Order. Then, before
 22    producing the specified documents, the Producing Party must affix the
 23    “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
 24    portion or portions of the material on a page qualifies for protection, the Producing
 25    Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 26    markings in the margins).
 27          (b) for testimony given in depositions that the Designating Party identify the
 28    Disclosure or Discovery Material on the record, before the close of the deposition all
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  1    protected testimony.
  2              (c) for information produced in some form other than documentary and for
  3    any other tangible items, that the Producing Party affix in a prominent place on the
  4    exterior of the container or containers in which the information is stored the legend
  5    “CONFIDENTIAL.” If only a portion or portions of the information warrants
  6    protection, the Producing Party, to the extent practicable, will identify the protected
  7    portion(s).
  8              5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  9    failure to designate qualified information or items does not, standing alone, waive
 10    the Designating Party’s right to secure protection under this Order for such material.
 11    Upon timely correction of a designation, the Receiving Party must make reasonable
 12    efforts to assure that the material is treated in accordance with the provisions of this
 13    Order.
 14

 15    6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 16              6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 17    designation of confidentiality at any time that is consistent with the Court’s
 18    Scheduling Order.
 19              6.2   Meet and Confer. The Challenging Party will initiate the dispute
 20    resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
 21    et seq.
 22              6.3   The burden of persuasion in any such challenge proceeding will be on
 23    the Designating Party. Frivolous challenges, and those made for an improper
 24    purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 25    parties) may expose the Challenging Party to sanctions. Unless the Designating
 26    Party has waived or withdrawn the confidentiality designation, all parties will
 27    continue to afford the material in question the level of protection to which it is
 28    entitled under the Producing Party’s designation until the Court rules on the
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  1    challenge.
  2

  3    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  4          7.1      Basic Principles. A Receiving Party may use Protected Material that is
  5    disclosed or produced by another Party or by a Non-Party in connection with this
  6    Action only for prosecuting, defending, or attempting to settle this Action, and not
  7    for any business or other purpose whatsoever. Such Protected Material may be
  8    disclosed only to the categories of persons and under the conditions described in this
  9    Order. When the Action has been terminated, a Receiving Party must comply with
 10    the provisions of section 13 below (FINAL DISPOSITION).
 11          Protected Material must be stored and maintained by a Receiving Party at a
 12    location and in a secure manner that ensures that access is limited to the persons
 13    authorized under this Order.
 14          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
 15    otherwise ordered by the court or permitted in writing by the Designating Party, a
 16    Receiving Party may disclose any information or item designated
 17    “CONFIDENTIAL” only to:
 18                (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 19    well as employees of said Outside Counsel of Record to whom it is reasonably
 20    necessary to disclose the information for this Action;
 21                (b) the officers, directors, and employees (including House Counsel) of
 22    the Receiving Party to whom disclosure is reasonably necessary for this Action;
 23                (c) Experts (as defined in this Order) of the Receiving Party to whom
 24    disclosure is reasonably necessary for this Action and who have signed the
 25    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 26                (d) the Court and its personnel;
 27                (e) court reporters and their staff;
 28                (f) professional jury or trial consultants, mock jurors, and Professional
                                                      8
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  1    Vendors to whom disclosure is reasonably necessary for this Action and who have
  2    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  3              (g) the author or recipient of a document containing the information or a
  4    custodian or other person who otherwise possessed or knew the information;
  5              (h) during their depositions, witnesses ,and attorneys for witnesses, in the
  6    Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  7    requests that the witness sign the form attached as Exhibit A hereto; and (2) they
  8    will not be permitted to keep any confidential information unless they sign the
  9    “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 10    agreed by the Designating Party or ordered by the court. Pages of transcribed
 11    deposition testimony or exhibits to depositions that reveal Protected Material may
 12    be separately bound by the court reporter and may not be disclosed to anyone except
 13    as permitted under this Stipulated Protective Order; and
 14              (i) any mediator or settlement officer, and their supporting personnel,
 15    mutually agreed upon by any of the parties engaged in settlement discussions.
 16

 17    8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 18    IN OTHER LITIGATION
 19          If a Party is served with a subpoena or a court order issued in other litigation
 20    that compels disclosure of any information or items designated in this Action as
 21    “CONFIDENTIAL,” that Party must:
 22              (a) promptly notify in writing the Designating Party. Such notification
 23    will include a copy of the subpoena or court order;
 24              (b) promptly notify in writing the party who caused the subpoena or order
 25    to issue in the other litigation that some or all of the material covered by the
 26    subpoena or order is subject to this Protective Order. Such notification will include
 27    a copy of this Stipulated Protective Order; and
 28              (c) cooperate with respect to all reasonable procedures sought to be
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   1   pursued by the Designating Party whose Protected Material may be affected.
   2         If the Designating Party timely seeks a protective order, the Party served with
   3   the subpoena or court order will not produce any information designated in this
   4   action as “CONFIDENTIAL” before a determination by the court from which the
   5   subpoena or order issued, unless the Party has obtained the Designating Party’s
   6   permission. The Designating Party will bear the burden and expense of seeking
   7   protection in that court of its confidential material and nothing in these provisions
   8   should be construed as authorizing or encouraging a Receiving Party in this Action
   9   to disobey a lawful directive from another court.
  10

  11   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  12   PRODUCED IN THIS LITIGATION
  13             (a) The terms of this Order are applicable to information produced by a
  14   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
  15   produced by Non-Parties in connection with this litigation is protected by the
  16   remedies and relief provided by this Order. Nothing in these provisions should be
  17   construed as prohibiting a Non-Party from seeking additional protections.
  18             (b) In the event that a Party is required, by a valid discovery request, to
  19   produce a Non-Party’s confidential information in its possession, and the Party is
  20   subject to an agreement with the Non-Party not to produce the Non-Party’s
  21   confidential information, then the Party will:
  22                (1) promptly notify in writing the Requesting Party and the Non-Party
  23   that some or all of the information requested is subject to a confidentiality
  24   agreement with a Non-Party;
  25                (2) promptly provide the Non-Party with a copy of the Stipulated
  26   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  27   specific description of the information requested; and
  28                (3) make the information requested available for inspection by the
                                                  10
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   1   Non-Party, if requested.
   2             (c) If the Non-Party fails to seek a protective order from this court within
   3   14 days of receiving the notice and accompanying information, the Receiving Party
   4   may produce the Non-Party’s confidential information responsive to the discovery
   5   request. If the Non-Party timely seeks a protective order, the Receiving Party will
   6   not produce any information in its possession or control that is subject to the
   7   confidentiality agreement with the Non-Party before a determination by the court.
   8   Absent a court order to the contrary, the Non-Party will bear the burden and expense
   9   of seeking protection in this court of its Protected Material.
  10

  11   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  13   Protected Material to any person or in any circumstance not authorized under this
  14   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  15   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  16   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  17   persons to whom unauthorized disclosures were made of all the terms of this Order,
  18   and (d) request such person or persons to execute the “Acknowledgment and
  19   Agreement to Be Bound” that is attached hereto as Exhibit A.
  20

  21   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  22   PROTECTED MATERIAL
  23         When a Producing Party gives notice to Receiving Parties that certain
  24   inadvertently produced material is subject to a claim of privilege or other protection,
  25   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  26   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
  27   procedure may be established in an e-discovery order that provides for production
  28   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
                                                  11
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   1   (e), insofar as the parties reach an agreement on the effect of disclosure of a
   2   communication or information covered by the attorney-client privilege or work
   3   product protection, the parties may incorporate their agreement in the stipulated
   4   protective order submitted to the court.
   5

   6   12.   MISCELLANEOUS
   7         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   8   person to seek its modification by the Court in the future.
   9         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  10   Protective Order no Party waives any right it otherwise would have to object to
  11   disclosing or producing any information or item on any ground not addressed in this
  12   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  13   ground to use in evidence of any of the material covered by this Protective Order.
  14         12.3 Filing Protected Material. A Party that seeks to file under seal any
  15   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  16   only be filed under seal pursuant to a court order authorizing the sealing of the
  17   specific Protected Material at issue. If a Party's request to file Protected Material
  18   under seal is denied by the court, then the Receiving Party may file the information
  19   in the public record unless otherwise instructed by the court.
  20

  21   13.   FINAL DISPOSITION
  22         After the final disposition of this Action, as defined in paragraph 4, within 60
  23   days of a written request by the Designating Party, each Receiving Party must return
  24   all Protected Material to the Producing Party or destroy such material, and provide
  25   the Designating Party with certification of such return or destruction. As used in
  26   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  27   summaries, and any other format reproducing or capturing any of the Protected
  28   Material. Whether the Protected Material is returned or destroyed, the Receiving
                                                  12
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   1   Party must submit a written certification to the Producing Party (and, if not the same
   2   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
   3   (by category, where appropriate) all the Protected Material that was returned or
   4   destroyed and (2) affirms that the Receiving Party has not retained any copies,
   5   abstracts, compilations, summaries or any other format reproducing or capturing any
   6   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
   7   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
   8   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   9   reports, attorney work product, and consultant and expert work product, even if such
  10   materials contain Protected Material. Any such archival copies that contain or
  11   constitute Protected Material remain subject to this Protective Order as set forth in
  12   Section 4 (DURATION).
  13

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   1   14.   Any willful violation of this Order may be punished by civil or criminal
   2   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
   3   authorities, or other appropriate action at the discretion of the Court.
   4

   5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   6
       Dated: September 30, 2019                  MANATT, PHELPS & PHILLIPS, LLP
   7

   8
                                                  By: /s/ Joseph E. Laska
   9                                                 Joseph E. Laska
                                                     Attorneys for Defendant
  10                                                 AETNA LIFE INSURANCE
                                                     COMPANY
  11

  12   Dated: September 30, 2019                  GIANELLI & MORRIS ALC
  13

  14                                              By: /s/ Howard Loring Rose*
                                                     Howard Loring Rose
  15                                                 Attorneys for Plaintiffs
                                                     BRIAN HENDRICKS and ANDREW
  16                                                 SAGALONGOS, on behalf of
                                                     themselves and all others similarly
  17                                                 situated
  18                                                   *Under Local Rule 5-4.3.4(a)(2), the
                                                       filer attests that all signatories have
  19                                                   concurred in the content of this
                                                       document and have authorized this
  20                                                   filing.
  21
       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  22

  23

  24
              2FWREHU  
       DATED:_______________                       __________________________________
  25                                               HON. MICHAEL R. WILNER
                                                   United States Magistrate Judge
  26

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   1                                         EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the United States
   7   District Court for the Central District of California on [date] in the case of
   8   Hendricks, et al. v. Aetna Life Insurance Company, U.S. District Court Case No.
   9   2:19-cv-6840-CJC-MRW. I agree to comply with and to be bound by all the terms
  10   of this Stipulated Protective Order and I understand and acknowledge that failure to
  11   so comply could expose me to sanctions and punishment in the nature of contempt. I
  12   solemnly promise that I will not disclose in any manner any information or item that
  13   is subject to this Stipulated Protective Order to any person or entity except in strict
  14   compliance with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint __________________________ [full
  19   name] of _______________________________________ [full address and
  20   telephone number] as my California agent for service of process in connection with
  21   this action or any proceedings related to enforcement of this Stipulated Protective
  22   Order.
  23   Date: ______________________________________
  24   City and State where signed: _________________________________
  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
  28
